                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF MISSOURI
                                            WESTERN DIVISION
------------------------------------------------------x
PAUL THUOTTE,                                         :
an individual,                                        : CASE NO.:
                                                      :
                  Plaintiff,                          :
                                                      : Judge:
vs.                                                   :
                                                      :
                                                      : Magistrate:
PETROMARK, INC.,                                      :
                                                      :
                  Defendant.                          :
------------------------------------------------------x

                                         COMPLAINT

“I now lift my pen to sign this Americans with Disabilities Act and say: Let the shameful wall of
                   exclusion finally come tumbling down. God bless you all.”

                                                 - President George H. W. Bush, July 26, 1990

       Plaintiff, PAUL THUOTTE, by and through his undersigned counsel, hereby files this

original Complaint and sues PETROMARK, INC., (hereinafter referred to as “DEFENDANT”),

for declaratory and injunctive relief, attorneys’ fees, and costs pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq., and alleges:

                               JURISDICTION AND PARTIES

1.     This is an action for declaratory and injunctive relief pursuant to Title III of the Americans

       With Disabilities Act, 42 U.S.C. § 12181 et seq. (hereinafter referred to as the “ADA”).

       This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

3.     Plaintiff, PAUL THUOTTE, (hereinafter referred to as “MR. THUOTTE”), is a resident of

       Henry County, Missouri. MR. THUOTTE resides in Clinton, Missouri.


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4.    MR. THUOTTE is a qualified individual with a disability under the ADA. MR.

      THUOTTE is afflicted with paraplegia.

5.    Due to his disability, MR. THUOTTE is substantially impaired in several major life

      activities and uses an electric wheelchair to ambulate.

6.    Specifically, MR. THUOTTE is unable to walk, stand, or use his legs without assistance.

7.    Upon information and belief, DEFENDANT is a limited liability company organized in the

      State of Missouri and doing business in Henry County.

8.    Upon information and belief, DEFENDANT is the owner and operator of the real

      properties and improvements that are the subject of this action, to wit: White Oak Station,

      1424 N. 2nd Street, Clinton, Missouri 64735. (hereinafter referred to as “the Property”).

9.    The Property is a place of public accommodation and is a gas station and convenience

      store.

10.   As the owner and operator of the Property, DEFENDANT is obligated to comply with the

      ADA.

11.   All events giving rise to this lawsuit occurred in the Western District of Missouri.

                     COUNT I - VIOLATION OF TITLE III OF THE
                        AMERICANS WITH DISABILITIES ACT

12.   MR. THUOTTE realleges and reavers Paragraphs 1 - 11 as if they were expressly restated

      herein.

13.   The Property is a place of public accommodation, subject to the ADA, generally located at:

      1424 N. 2nd Street, Clinton, Missouri 64735.


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14.   MR. THUOTTE has desired to visit the Property numerous times in the past and presently

      desires to visit the Property.

15.   MR. THUOTTE lives within 2.2 miles of the Property.

16.   The Property is a gas station and convenience store. MR. THUOTTE desires to visit the

      Property in the future to purchase goods which are available for sale.

17.   MR. THUOTTE is presently aware that if he were to try to visit the Property, he would

      experience serious difficulty accessing the goods and utilizing the services therein due to

      the architectural barriers as discussed in paragraph 21 of this Complaint.

18.   MR. THUOTTE continues to desire to visit the Property, but continues to experience

      serious difficulty due to the barriers discussed in Paragraph 21 which still exist.

19.   MR. THUOTTE is presently deterred from attempting to visit the Property as he knows he

      would be unable to enter the Property due to the lack of a curb ramp.

20.   MR. THUOTTE intends on traveling to the Property in the near future to see if the barriers

      to access described in Paragraph 21 still exist or have been modified.

21.   Upon information and belief, DEFENDANT is in violation of 42 U.S.C. § 12181 et seq.

      and 28 C.F.R. § 36.302 et seq. and the Property is not accessible due to, but not limited to

      the following barriers which presently exist at the Property:

              I.      UPON INFORMATION AND BELIEF, THE FOLLOWING BARRIERS

      ARE ALLEGED TO BE THE RESPONSIBILITY OF DEFENDANT:

                      A.      There is a complete absence of accessible-designated parking.

                      B.      There is no curb ramp leading from the parking facility to the

                              entrance of the storefront.



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                     C.      Other mobility-related ADA barriers to be identified following a

                             complete inspection of the Property.

22.   Upon information and belief, all barriers to access and ADA violations still exist and have

      not been remedied or altered in such a way as to effectuate compliance with the provisions

      of the ADA, even though removal is readily achievable.

23.   Upon information and belief, removal of the discriminatory barriers to access located on

      the Property is readily achievable, reasonably feasible, and easily accomplished, and would

      not place an undue burden on DEFENDANT.

24.   Upon information and belief, DEFENDANT has failed to remove the barriers to access

      which exist at the Property, even though their removal is readily achievable.

25.   Upon information and belief, removal of the barriers to access located on the Property

      would provide MR. THUOTTE with an equal opportunity to participate in, or benefit from,

      the goods, services, and accommodations which are offered to the general public at the

      Property.

26.   Independent of his intent to return as a patron to the Property, MR. THUOTTE additionally

      intends to return as an ADA tester to determine whether the barriers to access stated herein

      have been remedied.

27.   MR. THUOTTE has been obligated to retain the undersigned counsel for the filing and

      prosecution of this action. MR. THUOTTE is entitled to have his reasonable attorneys’

      fees, costs, and expenses paid by DEFENDANT, pursuant to 42 U.S.C. § 12205.



      WHEREFORE, MR. THUOTTE demands judgment against DEFENDANT, and requests



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the following injunctive and declaratory relief:

       A.      That this Court declare that the Property owned, leased, and/or operated by

               DEFENDANT is in violation of the ADA;

       B.      That this Court enter an Order directing DEFENDANT to alter the Property to

               make it accessible to and useable by individuals with mobility disabilities to the full

               extent required by Title III of the ADA;

       C.      That this Court award reasonable attorneys’ fees, costs (including expert fees), and

               other expenses of suit, to MR. THUOTTE; and

       D.      That this Court award such other and further relief as it deems necessary, just and

               proper.



                                                        Respectfully Submitted,


                                                        THE STAROSTA LAW FIRM
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                                                        ***AND***

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                                                       By:/s/ Timothy Starosta
                                                                Timothy Starosta

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